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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


LISA HUNTER; JACOB ZABEL; JENNIFER
OH; JOHN PERSA; GERALDINE SCHERTZ;
and KATHLEEN QUALHEIM,
                                                        Civil Action No. 21-cv-512
                      Plaintiffs,
                                                        Three-Judge Court Requested
       v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., and MARK L. THOMSEN, in
their official capacities as members of the
Wisconsin Elections Commission,
                      Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs LISA HUNTER, JACOB ZABEL, JENNIFER OH, JOHN PERSA,

GERALDINE SCHERTZ, and KATHLEEN QUAHLEIM, by and through their undersigned

counsel, file this Complaint for Declaratory and Injunctive Relief against Defendants MARGE

BOSTELMANN, JULIE M. GLANCEY, ANN S. JACOBS, DEAN KNUDSON, ROBERT F.

SPINDELL, JR., and MARK L. THOMSEN, in their official capacities as members of the

Wisconsin Elections Commission, and allege as follows:

                                    NATURE OF THE ACTION

       1.      This is an action challenging Wisconsin’s current legislative and congressional

districts, which are unconstitutionally malapportioned. Plaintiffs ask this Court to declare

Wisconsin’s current legislative and congressional district plans unconstitutional; enjoin

Defendants from using the current district plans in any future election; and implement new

legislative and congressional district plans that adhere to the constitutional requirement of one-

person, one-vote should the Legislature and the Governor fail to do so.
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        2.      On August 12, 2021, the U.S. Secretary of Commerce delivered census-block

results of the 2020 Census to Wisconsin’s Governor and legislative leaders. These data confirm

the inevitable reality that population shifts that occurred during the last decade have rendered

Wisconsin’s state legislative and congressional districts unconstitutionally malapportioned. See

Arrington v. Elections Bd., 173 F. Supp. 2d 856, 860 (E.D. Wis. 2001) (three-judge court)

(explaining that “existing apportionment schemes become instantly unconstitutional upon the

release of new decennial census data” (internal quotation marks omitted)).

        3.      Specifically, the current district configurations of Wisconsin’s State Assembly and

State Senate, Wis. Stat. §§ 4.01-4.99 (State Assembly districts), 4.009 (State Senate districts),

violate the Fourteenth Amendment to the U.S. Constitution, and the current configuration of

Wisconsin’s congressional districts, Wis. Stat. §§ 3.11-3.18, violates Article I, Section 2 of the

U.S. Constitution. Because they are unconstitutional, the current legislative and congressional

district plans cannot be used in any upcoming election, including the 2022 election.

        4.      Moreover, delays in the creation of new legislative and congressional plans threaten

to violate Plaintiffs’ right to associate under the First and Fourteenth Amendments to the U.S.

Constitution.

        5.      In Wisconsin, legislative and congressional district plans ordinarily are enacted

through legislation, which requires the consent of both legislative chambers and the Governor

(unless both legislative chambers override the Governor’s veto by a two-third vote). See State ex

rel. Reynolds v. Zimmerman, 22 Wis. 2d 544, 553-59, 126 N.W.2d 551, 557-59 (1964); Wis. Const.

art. V, § 10(2)(a).

        6.      There is no reasonable prospect that Wisconsin’s political branches will reach

consensus to enact lawful legislative and congressional district plans in time to be used in the




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upcoming 2022 election. Governor Tony Evers is a Democrat, and the State Assembly and State

Senate are controlled by Republicans (though they lack veto-proof majorities). In the last four

decades, each time Wisconsin’s political branches were split along partisan lines, federal judicial

intervention was necessary to implement new state legislative plans. This history of frequent

impasse led the Wisconsin Supreme Court to observe “the reality that redistricting is now almost

always resolved through litigation rather than legislation.” Jensen v. Wis. Elections Bd., 2002 WI

13, ¶ 10, 249 Wis. 2d 706, 713, 639 N.W.2d 537, 540 (2002). If anything, in the wake of the 2018

and 2020 elections, the hyper-partisan divisions have only gotten worse, leading to a “very real

possibility” that Wisconsin’s political branches will fail to reach consensus on new legislative and

congressional plans. Arrington, 173 F. Supp. 2d at 864.

        7.      Given the high likelihood of impasse, this Court should prepare itself to intervene

to protect the constitutional rights of Plaintiffs and voters across this State. While there is still time

for the Legislature and Governor to enact new plans, this Court should assume jurisdiction now

and establish a schedule that will enable the Court to adopt its own plans in the near-certain event

that the political branches fail timely to do so.

        8.      This action “challeng[es] the constitutionality of the apportionment of

congressional districts or the apportionment of any statewide legislative body.” 28 U.S.C.

§ 2284(a). Accordingly, a three-judge district court “shall be convened” for this case. Id. Plaintiffs

respectfully request that this Court notify the Chief Judge of the U.S. Court of Appeals for the

Seventh Circuit of this action and request that two judges be added to this Court for the purpose

of adjudicating the merits of this dispute. Id. § 2284(b)(1).

                                    JURISDICTION AND VENUE

        9.      Plaintiffs bring this action under 42 U.S.C. § 1983 to redress the deprivation, under

color of state law, of rights secured by the United States Constitution. This Court has original


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jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331 and 1343 because

the matters in controversy arise under the Constitution and laws of the United States and involve

the assertion of a deprivation, under color of state law, of a right under the Constitution of the

United States. This Court has the authority to enter a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202, and authority to enter injunctive relief under Federal Rule of Civil Procedure

65.

         10.       This Court has personal jurisdiction over Defendants, who are sued in their official

capacities and reside within this State.

         11.       Venue is proper in the Western District of Wisconsin because a substantial part of

the events that give rise to Plaintiffs’ claims have occurred and will occur in this District, 28 U.S.C.

§ 1391(b)(2), and because all Defendants, who are sued in their official capacities, have their office

in this District, id. § 1391(b)(1).

         12.       A three-judge district court has jurisdiction to adjudicate this dispute because

Plaintiffs “challeng[e] the constitutionality of the apportionment of [Wisconsin’s] congressional

districts or the apportionment of [Wisconsin’s] statewide legislative body.” 28 U.S.C. § 2284(a).

                                                PARTIES

         13.       Plaintiffs are citizens of the United States and are registered to vote in Wisconsin.

Plaintiffs intend to advocate and vote for Democratic candidates in the upcoming 2022 primary

and general elections. Plaintiffs reside in the following congressional and legislative districts.

                            County of        Congressional        State Senate      State Assembly
       Plaintiff
                            Residence          District             District            District
      Lisa Hunter             Dane                2                    26                 77
      Jacob Zabel             Dane                2                    26                 76
      Jennifer Oh             Dane                2                    26                 78
       John Persa           Waukesha              5                     5                 13
       Geraldine
                            Shawano                  8                  2                   6
         Schertz


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     Kathleen
                          Shawano                  8                   2                   6
     Qualheim

       14.      As the tables provided below demonstrate, Plaintiffs reside in districts that are

overpopulated relative to other districts in the state. Plaintiffs Hunter, Zabel, and Oh’s

congressional, State Senate, and State Assembly districts are all overpopulated. Plaintiff Persa’s

State Senate and State Assembly districts (but not his congressional district) are overpopulated.

And Plaintiff Schertz and Qualheim’s congressional and State Senate districts (but not their State

Assembly district) are overpopulated. If the 2022 election is held pursuant to the maps that are

currently in place, then Plaintiffs will be deprived of their right to cast an equal vote, as guaranteed

to them by the U.S. Constitution.

       15.      Defendants Marge Bostelmann, Julie M. Glancey, Ann S. Jacobs, Dean Knudson,

Robert F. Spindell, Jr., and Mark L. Thomsen are the six Commissioners of the Wisconsin

Elections Commission (“WEC”). They are named as defendants in their official capacities only.

The WEC is the governmental body that administers, enforces, and implements Wisconsin’s laws

“relating to elections and election campaigns, other than laws relating to campaign financing.”

Wis. Stat. § 5.05(1). The WEC is responsible for implementing redistricting plans, whether

enacted by Wisconsin’s political branches or by a court. See id. §§ 3.11-3.18 (setting forth current

congressional district boundaries); 4.009 (setting forth current State Senate districts); 4.01-4.99

(setting forth current State Assembly districts); see also Whitford v. Gill, No. 15-cv-421-BBC,

2017 WL 383360, at *3 (W.D. Wis. Jan. 27, 2017) (three-judge court) (enjoining members of the

WEC from using existing Assembly map), vacated on other grounds by Gill v. Whitford, 138 S.

Ct. 1916 (2018); Baldus v. Members of Wis. Gov’t Accountability Bd., 862 F. Supp. 2d 860, 863

(E.D. Wis. 2012) (ordering members of the WEC’s predecessor, the Government Accountability

Board (“GAB”), to implement the court’s alterations to the existing State Assembly district plan);



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Baumgart v. Wendelberger, Nos. 01-C-121, 02-C-366, 2002 WL 34127471, at *8 (E.D. Wis. May

30, 2002) (enjoining members of the Wisconsin Elections Board—the GAB’s predecessor—from

using existing legislative plan and ordering use of court-drawn plan due to the Legislature’s failure

to enact new plans following the 2000 Census).

                                  FACTUAL ALLEGATIONS

I.       Wisconsin’s current legislative and congressional districts were drawn using 2010
         Census data.

         16.    On August 9, 2011, over a decade ago, Governor Scott Walker signed legislation

creating new state legislative and congressional districts, which were drawn using then-recently

published 2010 Census data.

         17.    According to the 2010 Census, Wisconsin had a population of 5,686,986.

Accordingly, a decade ago, the ideal population for each of Wisconsin’s eight congressional

districts (i.e., the State’s total population divided by the number of districts) was 710,873 persons.

Similarly, the ideal population for each State Senate district was 172,333 persons, and the ideal

population for each State Assembly district was 57,444 persons.

         18.    According to 2010 Census data, the new congressional plan had a maximum

deviation (i.e., the difference between the most populated district and least populated district) of

exactly one person: six districts had a population of 710,873, and two districts had a population of

710,874. The new State Assembly plan had a deviation of 438 persons (.8% of the ideal district

population), and the new State Senate plan had a deviation of 1,076 persons (.6% of the ideal

district population).

         19.    In April 2012, a federal court made slight adjustments to Assembly Districts 8 and

9. See Baldus, 862 F. Supp. 2d at 863. Otherwise, the legislative and congressional plans passed

in August 2011 have been used in every election cycle since 2012.



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II.     The 2020 Census is now complete.

       20.     In 2020, the U.S. Census Bureau conducted the decennial census required by

Article I, Section 2 of the U.S. Constitution. On April 26, 2021, the U.S. Secretary of Commerce

delivered the results of the 2020 Census to the President.

       21.     The results of the 2020 Census report that Wisconsin’s resident population as of

April 2020 is 5,893,718. This is a significant increase from a decade ago, when the 2010 Census

reported a population of 5,686,986. Wisconsin will again be apportioned eight congressional

districts for the next decade.

       22.     According to the 2020 Census results, the ideal population for each of Wisconsin’s

eight congressional districts (i.e., the State’s total population divided by the number of districts) is

736,715; the ideal population for Wisconsin’s 99 State Assembly districts is 59,533; and the ideal

population for Wisconsin’s 33 State Senate districts is 178,598.

III.   As a result of significant population shifts in the past decade and the publication of
       the 2020 Census results, Wisconsin’s legislative and congressional districts are
       unconstitutionally malapportioned.

       23.     In the past decade, Wisconsin’s population has shifted significantly. Because the

2020 Census has now been completed, the 2010 population data used to draw Wisconsin’s current

legislative and congressional districts are obsolete, and any prior justifications for the existing

maps’ deviations from population equality are inapplicable.

       24.     On August 12, 2021, the U.S. Census Bureau delivered to Wisconsin its

redistricting data file in a legacy format, which the State may use to tabulate the new population

of each political subdivision. These data are commonly referred to as “P.L. 94-171 data,” a

reference to the legislation enacting this process, and are typically delivered no later than April of

the year following the Census. See Pub. L. No. 94-171, 89 Stat. 1023 (1975).

       25.     These data make clear that significant population shifts have occurred in Wisconsin


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since 2010, skewing the current legislative and congressional districts far from population equality.

          26.   The table below, generated from the P.L. 94-171 data file provided by the Census

Bureau on August 12, 2021, shows how the populations of each of Wisconsin’s congressional

districts have shifted between 2010 and 2020. For each district, the “2010 Population” column

represents the district’s 2010 population according to the 2010 Census, and the “2020 Population”

column indicates the district’s 2020 population according to the P.L. 94-171 data. The “Shift”

column represents the shift in population between 2010 and 2020. The “Deviation from Ideal 2020

Population” column shows how far the 2020 population of each district strays from the ideal 2020

congressional district population. And the “Percent Deviation” column shows that deviation as a

percentage of the ideal 2020 district population.

                                                                Deviation from
                  2010            2020                                                  Percent
  District                                           Shift        Ideal 2020
                Population      Population                                             Deviation
                                                                 Population
      1          710,874         727,452            +16,578          -9,262             -1.26%
      2          710,874         789,393            +78,519        +52,679              +7.15%
      3          710,873         733,584            +22,711          -3,130             -0.42%
      4          710,873         695,395            -15,478         -41,319             -5.61%
      5          710,873         735,571            +24,698          -1,143             -0.16%
      6          710,873         727,774            +16,901          -8,940             -1.21%
      7          710,873         732,582            +21,709          -4,132             -0.56%
      8          710,873         751,967            +41,094        +15,253              +2.07%

          27.   The table above indicates that population shifts since 2010 have rendered

Wisconsin’s First, Third, Fourth, Fifth, Sixth, and Seventh Congressional Districts

underpopulated, and its Second and Eighth Congressional Districts significantly overpopulated.

According to these figures, the maximum deviation among Wisconsin’s congressional districts

increased from 0 to nearly 13 percent between 2010 and 2020.

          28.   The populations of each of Wisconsin’s state legislative districts have similarly

shifted in the past decade. Exhibit A to this Complaint provides the same table showing, for each



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State Assembly district, the 2010 population, 2020 population, population shift between 2010 and

2020, deviation from the district’s current ideal population, and percent deviation from the

district’s current ideal population. Exhibit B to this Complaint provides the same information for

each State Senate district.

       29.       According to Exhibit A, the maximum deviation among State Assembly districts

increased from .8 percent to 32 percent between 2010 and 2020. And according to Exhibit B, the

maximum deviation among State Senate districts increased from .6 percent to over 22 percent

between 2010 and 2020.

       30.       In light of these population shifts, Wisconsin’s existing legislative and

congressional district configurations are unconstitutionally malapportioned. If used in any future

election, these district configurations would unconstitutionally dilute the strength of Plaintiffs’

votes in legislative and congressional elections because Plaintiffs live in districts with populations

that are significantly larger than those in which other voters live.

IV.    Wisconsin’s political branches will likely fail to enact lawful legislative or
       congressional district maps in time for the next election.

       31.       In Wisconsin, legislative and congressional district plans are enacted through

legislation, which must pass both chambers of the Legislature and be signed by the Governor

(unless the Legislature overrides the Governor’s veto). See State ex rel. Reynolds v. Zimmerman,

22 Wis. 2d 544, 553-59, 126 N.W.2d 551, 557-59 (1964). Currently, both chambers of Wisconsin’s

Legislature are controlled by Republicans, and the Governor is a Democrat. The Republican

control of the Legislature is not large enough to override a gubernatorial veto. The partisan division

among Wisconsin’s political branches makes it extremely unlikely that they will pass lawful

legislative or congressional redistricting plans in time to be implemented during the upcoming

2022 election.



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         32.   Except for the 2010 redistricting cycle—during which Republicans held trifecta

control of Wisconsin’s state government—Wisconsin’s redistricting process has been rife with

partisan gridlock. In the last four decades, when Republicans and Democrats controlled competing

political branches of Wisconsin’s government, the parties have been unable to enact state

legislative redistricting plans. As a result, federal courts were forced to intervene in the process of

redrawing state legislative districting plans during the 1980, 1990, and 2000 redistricting cycles.

         33.   Once again, Wisconsin is entering a new redistricting cycle with political branches

divided along partisan lines. If anything, the partisan differences among the major parties have

only grown since they last attempted to reach consensus on redistricting plans. In the two years he

has been in office, Governor Evers has been in nearly constant conflict with the Republican-

controlled Legislature over a broad range of policies, such as the state’s response to the COVID-

19 pandemic, election administration, Medicaid expansion, budget measures, abortion, and

professional licensing, with the Governor using his veto power on many occasions. When it

became clear that Republicans had failed to obtain a veto-proof majority in the Legislature in the

November 2020 election, Governor Evers pointed immediately to the fact that he would retain the

“ability to veto [] bad district lines through redistricting.”1 Earlier that year, when Governor Evers

created an independent redistricting commission meant to produce fair statewide maps, Republican

legislative leadership indicated that they would ignore the commission’s proposals.2

         34.   On August 10, 2021, Governor Evers vetoed a series of bills passed by the

Legislature seeking to alter the rules regarding applying for, delivering, and processing of absentee




1
  Mitchell Schmidt, GOP Falls Short of Veto-Proof Majorities in Wisconsin Legislature, Wis. State
J. (Nov. 5, 2020), https://tinyurl.com/wj6m3d98.
2
  Scott Bauer, Wisconsin Republicans Dismiss Nonpartisan Redistricting Plan, Assoc. Press (Jan.
23, 2020), https://tinyurl.com/7vh569yb.

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ballots, further illustrating and confirming the persistent gridlock between the Legislature and

Governor Evers, especially on election issues.3

         35.    Moreover, the Census Bureau’s significant delays in distributing Wisconsin’s

population data have compressed the amount of time during which the legislative process would

normally take place. This increases the already significant likelihood the political branches will

reach an impasse this cycle and fail to enact new legislative and congressional district plans,

leaving the existing plans in place for next year’s election. To avoid such an unconstitutional

outcome, this Court must prepare to intervene to ensure Plaintiffs’ and other Wisconsinites’ voting

strength is not diluted.

         36.    The Wisconsin Constitution requires the Legislature to draw new legislative lines

“[a]t its first session after each enumeration made by the authority of the United States.” Wis.

Const. art. IV, § 3. The current legislative session will terminate when the following session begins

in early January 2022. See Wis. Stat. § 13.02(2) (calling for new annual sessions to begin “on the

first Tuesday after the 8th day of January in each year”). Wisconsin law does not set a deadline by

which congressional redistricting plans must be in place. Nonetheless, it is in the interests of voters,

candidates, and Wisconsin’s entire electoral apparatus that finalized legislative and congressional

districts be put in place as soon as possible, well before candidates in those districts must begin to

collect signatures on their nomination papers. Potential candidates cannot make strategic

decisions—including, most importantly, whether to run at all—without knowing the district

boundaries. And voters have a variety of interests in knowing as soon as possible the districts in

which they reside and will vote, and the precise contours of those districts. These interests include




3
 Scott Bauer, Wisconsin Governor Vetoes GOP Bills to Restrict Absentees, Assoc. Press (Aug.
10, 2021), https://tinyurl.com/e4he92sj.

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deciding which candidates to support and whether to encourage others to run; holding elected

representatives accountable for their conduct in office; and advocating for and organizing around

candidates who will share their views in Congress or the Wisconsin Legislature, including by

working together with other district voters in support of favored candidates.

        37.     Candidates seeking to appear on the ballot for the 2022 partisan primary election

will begin circulating nomination papers as early as April 15, 2022. Wis. Stat. § 8.15(1). And the

deadline to file nomination papers is June 1, 2022. Id. It is in everyone’s best interest—voters and

candidates alike—that district boundaries are set well before the start of the formal nomination

process. Delaying the adoption of new plans even until this deadline will substantially interfere

with Plaintiffs’ ability to associate with like-minded citizens, educate themselves on the positions

of their would-be representatives, and advocate for the candidates they prefer. Cf. Anderson v.

Celebrezze, 460 U.S. 780, 787-88 (1983) (“The [absence] of candidates also burdens voters’

freedom of association, because an election campaign is an effective platform for the expression

of views on the issues of the day, and a candidate serves as a rallying-point for like-minded

citizens.”).

        38.     If this Court is not prepared to act in the event that the Legislature and Governor

fail to enact new legislative or congressional plans, then the 2022 election will be held using illegal

district maps, depriving Plaintiffs of their constitutional rights.

                                      CLAIMS FOR RELIEF

                                              COUNT I

               Violation of the Fourteenth Amendment to the U.S. Constitution
                                        42 U.S.C. § 1983
                                 Legislative Malapportionment

        39.     Plaintiffs reallege and reincorporate by reference all prior paragraphs of this




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Complaint and the paragraphs in the counts below as though fully set forth herein.

       40.      The Fourteenth Amendment to the U.S. Constitution prohibits a state from

“deny[ing] to any person within its jurisdiction the equal protection of the laws.” This provision

“requires that the seats in both houses of a bicameral state legislature [] be apportioned on a

population basis.” Reynolds v. Sims, 377 U.S. 533, 568 (1964).

       41.     In light of the significant population shifts that have occurred since the 2010

Census, and the recent publication of the results of the 2020 Census, the current configurations of

Wisconsin’s legislative districts—which were drawn based on 2010 Census data—are

unconstitutionally malapportioned. These districts are no longer apportioned on a “population

basis.” Instead, they are based on outdated population data collected more than a decade ago.

       42.     Wisconsin’s current state legislative plan places voters into districts with

significantly disparate populations, causing voters in overpopulated districts, like Plaintiffs, to

experience vote dilution compared to voters in districts with comparatively smaller populations.

       43.     Any future use of Wisconsin’s current legislative plan would violate Plaintiffs’

constitutional right to cast an equal vote.

                                               COUNT II

                    Violation of Article I, Section 2 of the U.S. Constitution
                                        42 U.S.C. § 1983
                               Congressional Malapportionment

       44.     Plaintiffs reallege and reincorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the count below as though fully set forth herein.

       45.     Article I, Section 2 of the U.S. Constitution requires “that when qualified voters

elect members of Congress each vote be given as much weight as any other vote.” Wesberry v.

Sanders, 376 U.S. 1, 7 (1964). This means that congressional districts must “achieve population




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equality ‘as nearly as is practicable.’” Karcher v. Daggett, 462 U.S. 725, 730 (1983) (quoting

Wesberry, 376 U.S. at 7-8).

       46.     Article I, Section 2 requires an even higher standard of exact population equality

among congressional districts than what the Fourteenth Amendment requires of state legislative

districts. It “permits only the limited population variances which are unavoidable despite a good-

faith effort to achieve absolute equality, or for which justification is shown.” Karcher, 462 U.S. at

730 (quoting Kirkpatrick v. Preisler, 394 U.S. 526, 531 (1969)). Any variation from “absolute

population equality” must be narrowly justified. Id. at 732-33.

       47.     As a result of this requirement, when Wisconsin’s existing congressional plan was

enacted in 2010, the deviation in population among districts was no more than one person. Now,

the population deviation among the current congressional districts is nearly 94,000 people.

       48.     Given the significant population shifts that have occurred since the 2010 Census,

and the recent publication of the results of the 2020 Census, Wisconsin’s congressional districts—

which were drawn based on 2010 Census data—are now unconstitutionally malapportioned. No

justification can be offered for the deviation among the congressional districts because any existing

justification would be based on outdated 2010 population data.

       49.     Any future use of Wisconsin’s current congressional district plan would violate

Plaintiffs’ constitutional right to an undiluted vote.

                                             COUNT III

         Violation of the First and Fourteenth Amendments to the U.S. Constitution
                                       42 U.S.C. § 1983
                                    Freedom of Association

       50.     Plaintiffs reallege and reincorporate by reference all prior paragraphs of this

Complaint as though fully set forth herein.




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       51.      Among other rights, the First Amendment protects the “freedom of association”

from infringement by the federal government and applies to state governments pursuant to the

Fourteenth Amendment. See Williams v. Rhodes, 393 U.S. 23, 30-31 (1968) (citing New York

Times Co. v. Sullivan, 376 U.S. 254, 276-77 (1964)).

       52.      Impeding candidates’ ability to run for political office—and, consequently,

Plaintiffs’ ability to assess candidate qualifications and positions, organize and advocate for

preferred candidates, and associate with like-minded voters—infringes on Plaintiffs’ First

Amendment right to association. See, e.g., Anderson, 460 U.S. at 787-88 & n.8.

       53.      Given the delay in publication of the 2020 Census data and the near-certain

deadlock among the political branches in adopting new legislative and congressional district plans,

it is significantly unlikely that the legislative process will timely yield new plans. This would

deprive Plaintiffs of the ability to associate with others from the same lawfully apportioned

legislative and congressional districts, and, therefore, is likely to significantly, if not severely,

burden Plaintiffs’ First Amendment right to association.

       54.      Defendants can assert no legitimate, let alone compelling, interest that justifies this

burden.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

       a. Notify the Chief Judge of the U.S. Court of Appeals for the Seventh Circuit of this

             action and request that two other judges be designated to form a three-judge district

             court, 28 U.S.C. § 2284(b)(1);

       b. Declare that the current configurations of Wisconsin’s State Assembly and State Senate

             districts, Wis. Stat. §§ 4.01-4.99, 4.009, violate the First and Fourteenth Amendments




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        to the United States Constitution;

     c. Declare that the current configuration of Wisconsin’s congressional districts, Wis. Stat.

        §§ 3.11-3.18, violates Article I, Section 2 of, and the First and Fourteenth Amendments

        to, the United States Constitution;

     d. Permanently enjoin Defendants, their respective agents, officers, employees, and

        successors, and all persons acting in concert with each or any of them, from

        implementing, enforcing, or giving any effect to Wisconsin’s current legislative or

        congressional districting plans;

     e. Establish a schedule that will enable the Court to adopt and implement new legislative

        and congressional district plans by a date certain should the political branches fail to

        enact such plans by that time;

     f. Implement a new legislative district plan that complies with the Fourteenth Amendment

        to the U.S. Constitution, and a new congressional district plan that complies with

        Article I, Section 2 of the U.S. Constitution;

     g. Award Plaintiffs their costs, disbursements, and reasonable attorneys’ fees incurred in

        bringing this action, pursuant to 42 U.S.C. § 1988 and other applicable laws; and

     h. Grant such other and further relief as the Court deems just and proper.




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Dated: August 13, 2021                         Respectfully submitted,

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                      Exhibit A: Shifts in State Assembly Districts

                                                                 Deviation
             2010                                                             Percent
District                     2020 Population          Shift     from Ideal
           Population                                                        Deviation
                                                                Population
   1         57,220               59,834             +2,614        +301      +0.51%
   2         57,649               62,564             +4,915       +3,031     +5.09%
   3         57,444               61,906             +4,462       +2,373     +3.99%
   4         57,486               58,716             +1,230        -817       -1.37%
   5         57,470               67,428             +9,958       +7,895     +13.26%
   6         57,505               57,409               -96        -2,124      -3.57%
   7         57,498               59,355             +1,857        -178       -0.30%
   8         57,196               53,999             -3,197       -5,534      -9.30%
   9         57,283               57,339              +56         -2,194      -3.69%
  10         57,428               52,628             -4,800       -6,905     -11.60%
  11         57,503               54,275             -3,228       -5,258      -8.83%
  12         57,494               56,305             -1,189       -3,228      -5.42%
  13         57,452               61,779             +4,327       +2,246     +3.77%
  14         57,597               60,136             +2,539        +603      +1.01%
  15         57,372               57,145              -227        -2,388      -4.01%
  16         57,458               53,739             -3,719       -5,794      -9.73%
  17         57,354               55,343             -2,011       -4,190      -7.04%
  18         57,480               52,987             -4,493       -6,546     -11.00%
  19         57,546               62,056             +4,510       +2,523     +4.24%
  20         57,428               56,812              -616        -2,721      -4.57%
  21         57,449               59,100             +1,651        -433       -0.73%
  22         57,495               60,750             +3,255       +1,217     +2.04%
  23         57,579               60,761             +3,182       +1,228     +2.06%
  24         57,282               60,737             +3,455       +1,204     +2.02%
  25         57,322               57,986              +664        -1,547      -2.60%
  26         57,581               58,710             +1,129        -823       -1.38%
  27         57,536               59,294             +1,758        -239       -0.40%
  28         57,467               59,274             +1,807        -259       -0.44%
  29         57,537               61,746             +4,209       +2,213     +3.72%
  30         57,241               62,735             +5,494       +3,202     +5.38%
  31         57,240               59,952             +2,712        +419      +0.70%
  32         57,524               59,397             +1,873        -136       -0.23%
  33         57,565               58,490              +925        -1,043      -1.75%
  34         57,387               60,803             +3,416       +1,270     +2.13%
  35         57,562               56,431             -1,131       -3,102      -5.21%
  36         57,432               57,713              +281        -1,820      -3.06%
  37         57,507               61,182             +3,675       +1,649     +2.77%
  38         57,493               61,646             +4,153       +2,113     +3.55%
  39         57,387               58,192              +805        -1,341      -2.25%
  40         57,366               57,138              -228        -2,395      -4.02%


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  41         57,337               57,743              +406      -1,790        -3.01%
  42         57,285               58,322            +1,037      -1,211        -2.03%
  43         57,443               59,492            +2,049        -41         -0.07%
  44         57,395               58,574            +1,179       -959         -1.61%
  45         57,658               57,664               +6       -1,869        -3.14%
  46         57,458               65,092            +7,634     +5,559        +9.34%
  47         57,465               63,646            +6,181     +4,113        +6.91%
  48         57,506               63,754            +6,248     +4,221        +7.09%
  49         57,346               57,941              +595      -1,592        -2.67%
  50         57,624               58,713            +1,089       -820         -1.38%
  51         57,580               56,878              -702      -2,655        -4.46%
  52         57,232               59,848            +2,616       +315        +0.53%
  53         57,240               58,579            +1,339       -954         -1.60%
  54         57,250               57,411              +161      -2,122        -3.56%
  55         57,493               61,992            +4,499     +2,459        +4.13%
  56         57,582               64,544            +6,962     +5,011        +8.42%
  57         57,501               57,937              +436      -1,596        -2.68%
  58         57,227               59,054            +1,827       -479         -0.80%
  59         57,391               58,158              +767      -1,375        -2.31%
  60         57,385               59,358            +1,973       -175         -0.29%
  61         57,614               59,972            +2,358       +439        +0.74%
  62         57,345               58,422            +1,077      -1,111        -1.87%
  63         57,365               59,808            +2,443       +275        +0.46%
  64         57,270               57,845              +575      -1,688        -2.84%
  65         57,455               57,248              -207      -2,285        -3.84%
  66         57,545               56,026             -1,519     -3,507        -5.89%
  67         57,239               60,513            +3,274       +980        +1.65%
  68         57,261               61,896            +4,635     +2,363        +3.97%
  69         57,649               57,134              -515      -2,399        -4.03%
  70         57,552               58,276              +724      -1,257        -2.11%
  71         57,519               57,866              +347      -1,667        -2.80%
  72         57,449               57,669              +220      -1,864        -3.13%
  73         57,453               58,507            +1,054      -1,026        -1.72%
  74         57,494               59,010            +1,516       -523         -0.88%
  75         57,462               58,751            +1,289       -782         -1.31%
  76         57,617               71,685            +14,068    +12,152       +20.41%
  77         57,433               62,992            +5,559     +3,459        +5.81%
  78         57,546               67,142            +9,596     +7,609        +12.78%
  79         57,461               69,732            +12,271    +10,199       +17.13%
  80         57,585               65,830            +8,245     +6,297        +10.58%
  81         57,403               59,943            +2,540       +410        +0.69%
  82         57,430               59,196            +1,766       -337         -0.57%
  83         57,423               58,770            +1,347       -763         -1.28%
  84         57,365               59,529            +2,164         -4         -0.01%
  85         57,480               58,671            +1,191       -862         -1.45%


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  86         57,454               60,462            +3,008      +929        +1.56%
  87         57,358               57,051             -307      -2,482       -4.17%
  88         57,556               62,894            +5,338     +3,361       +5.65%
  89         57,634               60,143            +2,509      +610        +1.02%
  90         57,608               57,912             +304      -1,621       -2.72%
  91         57,359               59,397            +2,038      -136        -0.23%
  92         57,431               59,334            +1,903      -199        -0.33%
  93         57,548               60,667            +3,119     +1,134       +1.90%
  94         57,266               62,080            +4,814     +2,547       +4.28%
  95         57,372               58,704            +1,332      -829        -1.39%
  96         57,484               58,372             +888      -1,161       -1.95%
  97         57,279               56,590             -689      -2,943       -4.94%
  98         57,513               61,407            +3,894     +1,874       +3.15%
  99         57,496               57,780             +284      -1,753       -2.94%




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                     Exhibit B: Shifts in State Senate Districts

              2010            2020                         Deviation from     Percent
 District                                       Shift
            Population      Population                    Ideal Population   Deviation
    1        172,313         184,304         +11,991           +5,706         +3.19%
    2        172,461         183,553         +11,092           +4,955         +2.77%
    3        171,977         170,693          -1,284           -7,905         -4.43%
    4        172,425         163,208          -9,217          -15,390         -8.62%
    5        172,421         179,060         +6,639             +462          +0.26%
    6        172,292         162,069         -10,223          -16,529         -9.25%
    7        172,423         177,968         +5,545             -630          -0.35%
    8        172,356         182,248         +9,892            +3,650         +2.04%
    9        172,439         175,990         +3,551            -2,608         -1.46%
   10        172,245         183,755         +11,510           +5,157         +2.89%
   11        172,329         177,839         +5,510             -759          -0.42%
   12        172,381         174,947         +2,566            -3,651         -2.04%
   13        172,387         181,020         +8,633            +2,422         +1.36%
   14        171,988         173,203         +1,215            -5,395         -3.02%
   15        172,496         175,730         +3,234            -2,868         -1.61%
   16        172,429         192,492         +20,063          +13,894         +7.78%
   17        172,550         173,532           +982            -5,066         -2.84%
   18        171,722         175,838         +4,116            -2,760         -1.55%
   19        172,576         184,473         +11,897           +5,875         +3.29%
   20        172,003         176,570         +4,567            -2,028         -1.14%
   21        172,324         178,202         +5,878             -396          -0.22%
   22        172,270         171,119          -1,151           -7,479         -4.19%
   23        172,149         179,543         +7,394             +945          +0.53%
   24        172,520         173,811         +1,291            -4,787         -2.68%
   25        172,409         176,268         +3,859            -2,330         -1.30%
   26        172,596         201,819         +29,223          +23,221        +13.00%
   27        172,449         195,505         +23,056          +16,907         +9.47%
   28        172,218         177,495         +5,277            -1,103         -0.62%
   29        172,292         176,184         +3,892            -2,414         -1.35%
   30        172,798         180,949         +8,151            +2,351         +1.32%
   31        172,338         179,398         +7,060             +800          +0.45%
   32        172,122         179,156         +7,034             +558          +0.31%
   33        172,288         175,777         +3,489            -2,821         -1.58%




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